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 4
     Attorney for Defendant
 5
     MELISSSA TORRES
 6
                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                      )       No. CR-S-14-097 MCE
 9
                                                    )
                                                    )
10          Plaintiff,                              )       STIPULATION AND ORDER
                                                    )       CONTINUING JUDGMENT
11
     v.                                             )       SENTENCING
                                                    )
12
     MELISSA TORRES,                                )       Date: January 28, 2016
                                                    )       Time: 9:00 a.m.
13
                                                    )       Judge: Honorable Morrison C. England, Jr.
            Defendant.                              )
14
                                                    )
                                                    )
15
                                                    )
16

17
            The parties hereby stipulate the following:

18
            1. Judgment and sentencing in this matter is presently set for December 10, 2015.

19
                Counsel for the parties request the date for judgment and sentencing be continued to

20
                January 28, 2016 at 9:00 a.m. Assistant U.S. Attorney Christiaan Highsmith and

21
                United States Probation have been advised of this request and have no objection. The

22
                parties request the Court adopt the following schedule pertaining to the presentence

23
                report:

24
                Judgment and Sentencing date:                                      1/28/16
25

26              Reply, or Statement of Non-Opposition:                             1/21/16

27              Motion for Correction of the Presentence Report
                Shall be filed with the Court and served on the
28
                Probation Officer and opposing counsel no later than:              1/14/16


                                                        1
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              The Presentence Report shall be filed with the Court
 1
              And disclosed to counsel no later than:                       1/7/16
 2
              Counsel’s written objections to the Presentence Report
 3            Shall be delivered to the probation officer and opposing
              Counsel no later than:                                        12/31/15
 4

 5            The Presentence Report shall be filed with the Court
              And disclosed to counsel no later than:                       12/17/15
 6

 7

 8
     IT IS SO STIPULATED.
 9
     Dated: November 3, 2015                                   /s/ John R. Manning
10                                                            JOHN R. MANNING
11
                                                              Attorney for Defendant
                                                              Melissa Torres
12

13
     Dated: November 3, 2015                                  Benjamin B. Wagner
14                                                            United States Attorney

15                                                            by:/s/ Christiaan Highsmith
                                                              CHRISTIAAN HIGHSMITH
16
                                                              Assistant U.S. Attorney
17

18
                                               ORDER
19
           IT IS SO ORDERED.
20
     DATED: November 10, 2015
21

22

23
                                         _____________________________________________
24                                       MORRISON  N C. ENGLLAND, JR, C
                                                                      CHIEF JUDG  GE
                                         UNITED ST TATES DISSTRICT COU  URT
25

26

27

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